              Case 2:21-cv-00576-RSM Document 20 Filed 07/12/21 Page 1 of 3




                                                               The Honorable Ricardo S. Martinez
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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9

10     NATIONAL ASSOCIATION OF CHAIN                  Case No. 2:21-cv-00576-RSM
       DRUG STORES, et al.,
11                                                    ORDER GRANTING JOINT MOTION
                               Plaintiffs,            FOR VOLUNTARY REMAND AND
12                                                    DISMISSAL WITHOUT PREJUDICE
              v.
13
       XAVIER BECERRA, Secretary of Health
14     and Human Services, et al.,
15
                              Defendants.
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18          This matter came before the Court on the Parties’ Joint Motion For Voluntary Remand

19 and Dismissal Without Prejudice. The Court has reviewed the Motion, as well as the documents

20 on file, and is otherwise fully informed.

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     ORDER GRANTING JOINT MOTION FOR REMAND                        UNITED STATES ATTORNEY
     2:21-cv-00576-RSM - 1                                           700 Stewart Street, Suite 5220
                                                                    Seattle, Washington 98101-1271
                                                                              206-553-7970
              Case 2:21-cv-00576-RSM Document 20 Filed 07/12/21 Page 2 of 3




 1                                               ORDER
 2          IT IS ORDERED that the Parties’ Motion For Voluntary Remand and Dismissal
 3 Without Prejudice is GRANTED.

 4          IT IS FURTHER ORDERED that this matter is remanded back to the Centers for
 5 Medicare & Medicaid Services.

 6          IT IS FURTHER ORDERED that this matter is dismissed without prejudice with the
 7 parties to bear their own costs and fees.

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 9          DATED this 12th day of July, 2021.

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                                                 A
                                                 RICARDO S. MARTINEZ
13                                               CHIEF UNITED STATES DISTRICT JUDGE

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15   Presented by:
16
     TESSA M. GORMAN
17   Acting United States Attorney

18
     s/ Nickolas Bohl
19   NICKOLAS BOHL, WSBA #48978
20   Assistant United States Attorneys
     Western District of Washington
21   United States Attorney’s Office
     700 Stewart Street, Suite 5220
22   Seattle, Washington 98101-1271
     phone: 206-553-7970
23
     email: nickolas.bohl@usdoj.gov
24 //

25 //

26 //



     ORDER GRANTING JOINT MOTION FOR REMAND                     UNITED STATES ATTORNEY
     2:21-cv-00576-RSM - 2                                        700 Stewart Street, Suite 5220
                                                                 Seattle, Washington 98101-1271
                                                                           206-553-7970
             Case 2:21-cv-00576-RSM Document 20 Filed 07/12/21 Page 3 of 3




 1   SCHWABE, WILLIAMSON & WYATT, P.C.

 2   s/ Christopher H. Howard
     s/ Molly J. Henry
 3   Christopher H. Howard, WSBA #11074
 4   choward@schwabe.com
     Molly J. Henry, WSBA #40818
 5   mhenry@schwabe.com
     1420 5th Avenue, Suite 3400
 6   Seattle, WA 98101-4010
 7   Counsel for Plaintiffs
 8

 9   QUARLES & BRADY, LLP

10   s/ Mark Q. Bina
     Mark W. Bina (IL Bar # 6288024)
11   300 N. LaSalle Street, Suite 4000
12   Chicago, IL 60654
     Email: Mark.Bina@Quarles.com
13
     Pro Hac Vice Attorneys for Plaintiffs
14

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     ORDER GRANTING JOINT MOTION FOR REMAND             UNITED STATES ATTORNEY
     2:21-cv-00576-RSM - 3                                700 Stewart Street, Suite 5220
                                                         Seattle, Washington 98101-1271
                                                                   206-553-7970
